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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


In re:                                                     Case No.19-00965
                                                           Chapter 13
John P. March                                              Judge Goldgar
                                                           Lake County
                Debtor.


                    NOTICE OF CONSUMERS CREDIT UNION’S
                WITHDRAWAL OF ITS OBJECTION TO CONFIRMATION

         Consumers Credit Union, the “Credit Union,” by and through its attorneys Kerry

Trunkett and Caroline Hasten of Trunkett & Trunkett, P.C., withdraws its objection to

confirmation of the Chapter 13 Plan filed on January 18, 2019 (Document Number 14) as

Debtor’s Chapter 13 Modified Plan filed on April 25, 2019(Document Number 37) satisfies the

Credit Union’s Objection.


                                             Respectfully submitted,
                                             Consumers Credit Union

                                             By:
                                                    Caroline Hasten, One of Its Attorneys

 

 

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